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                                                                                                       E-FILED
                                                                        Thursday, 24 May, 2018 12:03:28 PM
                                                                              Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS
                                    PEORIA DIVISION

STEVEN D. LISLE, Jr., #R40159,                )
                                              )
                 Plaintiff,                   )
                                              )
        vs.                                   )       Case No. 17-cv-1354
                                              )
HADSALL, et al.,                              )
                                              )
                 Defendants.                  )

                 DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES

        Defendants, Warren Hadsall, Timothy Lindsay, Randall Meister, Susan Prentice, and Todd

Punke, by and through their attorney, Lisa Madigan, and for their Answer and Affirmative

Defenses to Plaintiff’s Amended Complaint [ECF # 22], pursuant to the Court’s Merit Review

Order of May 21, 2018 [ECF # 21], in the above cause, state as follows:

                   ALLEGATIONS ENUMERATED IN THIS HONORABLE
                        COURT’S ORDER DATED MAY 21, 2018

    1. Pursuant to its merit review of the amended complaint under 28 U.S.C. § 1915A, the Court
       finds the Plaintiff has restated his allegation that Defendants Prentice, Mister, Punke,
       Lindsy and Hadsall violated his Eighth Amendment rights based on excessive heat and the
       denial of a fan in June of 2016 resulting in the Plaintiff suffering heat exhaustion. The
       claim is stated against the Defendants in their individual capacities only. Any additional
       claims shall not be included in the case, except at the Court’s discretion on motion by a
       party for good cause shown or pursuant to Federal Rule of Civil Procedure 15.

ANSWER: Defendants deny the allegations contained in this paragraph. Defendants deny
any violation of Plaintiff’s constitutional rights whatsoever, and further deny Plaintiff is
entitled to any relief whatsoever.

                                     RELIEF REQUESTED

        Defendants deny that Plaintiff is entitled to any relief whatsoever.

                                       JURY DEMANDED

        Defendants demand a trial by jury in this matter.



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                                   AFFIRMATIVE DEFENSES

    1. Qualified Immunity

        At all times relevant herein, Defendants acted in good faith in the performance of their

official duties and without violating Plaintiff’s clearly established statutory or constitutional rights

of which a reasonable person would have known. Defendants are therefore protected from suit by

the doctrine of qualified immunity.

    2. Sovereign Immunity

        To the extent that Plaintiff has alleged claims against Defendants in their official

capacities, those claims are barred by the Eleventh Amendment.

    3. Injunctive Relief Barred

        Plaintiff is suing Defendants for injunctive relief not intended to address ongoing

violations. Plaintiff’s requests for such relief are barred by the Eleventh Amendment, sovereign

immunity, and the Prison Litigation Reform Act.

    4. Exhaustion of Administrative Remedies

        Plaintiff has filed suit concerning his time in Illinois Department of Corrections’ custody.

Plaintiff has failed to properly exhaust his administrative remedies regarding at least one of his

claims as is required prior to filing suit under 42 U.S.C. §1983, and his claims are, therefore,

barred by the Prison Litigation Reform Act (42 U.S.C. §1997e(a)) and Perez v. Wisconsin Dept.

of Corrections, 182 F. 3d 532 (7th Cir. 1999).




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                                                      Respectfully submitted,

LISA MADIGAN
Attorney General of Illinois                          By:      /s/ Alan Williams
                                                               Alan Williams
                                                               Assistant Attorney General
                                                               100 W. Randolph St., 13th Floor
                                                               Chicago, Illinois 60601
                                                               T: 312-814-3654, F: 312-814-4425
                                                               ajwilliams@atg.state.il.us
                                                               Attorney for Defendant


                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 24, 2018, the foregoing document, Defendants’ Answer and

Affirmative Defenses, was electronically filed with the Clerk of the Court using the CM/ECF

system. Parties of record may obtain a copy through the CM/ECF system.

        And I hereby certify that on the same date, I caused a copy of the foregoing described

document to be mailed by United States Postal Service, in an envelope properly addressed and

fully prepaid, to the following non-registered participant:

        Steven D Lisle, Jr., #R40159
        Pontiac Correctional Center
        Inmate Mail/Parcels
        PO Box 99
        Pontiac, IL 61764

                                                      Respectfully submitted,

                                                      /s/ Alan Williams
                                                      Alan Williams




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